Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 1 of 8 PageID: 12543




                              UNITED STATES DISTRICT COURT
                                 DISTRICT Of NEW JERSEY


      IN RE: PROTON-PUMP INHIBITOR                 2:17-MD-2 789 (CCC)(MF)
      PRODUCTS LIABILITY LITIGATION                (MDL 2789)
                                                   and all member and related cases
      This Document Relates to:
      ALL ACTIONS                                  Judge Claire C. Cecchi




                            CASE MANAGEMENT ORDER NO.24
                       (Dismissal of Certain Takeda U.S. Defendants)

            WHEREAS on February 2, 2018, the Plaintiffs’ Steering Committee (“PSC”)

      filed a Master Complaint (the “Master Complaint”), in In re Proton-Pump Inhibitor

      Prod. Liab. Litig. (D.N.J. Case No. 2:17-md-02789-CCC-MF (MDL No. 2789) (the “PPI

      MDL”), naming, among others, Defendants Takeda Pharmaceuticals U.S.A., Inc.

      (“TPUSA”), Takeda Pharmaceuticals America (“TPA”), Inc., Takeda Pharmaceuticals

     LLC, Takeda Pharmaceuticals International, Inc., Takeda California, Inc. (f/k/a

     Takeda San Diego, Inc.), Takeda Development Center Americas, Inc. (“TDCA”), f/k/a

     Takeda Global Research & Development Center, Inc., Takeda Pharmaceutical

     Company Limited (“TPC”), and TAP Pharmaceutical Products, Inc. f/k/a TAP

     Holdings (collectively, “Stipulating Defendants”), for injuries that allegedly resulted

     from Plaintiffs’ use of proton pump inhibitor (“PPI”) medications Prevacid, Dexilant,

     Prevacid 24HR, and Protonix.

            WHEREAS subsequent to the filing of the Master Complaint, the PSC and

     other Plaintiffs’ counsel have filed Short Form Complaints and/or intend to bring

     additional lawsuits against the Stipulating Defendants on behalf of additional



                                               1
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 2 of 8 PageID: 12544




      plaintiffs claiming injuries allegedly resulting from their use of PPIs (hereinafter

      ‘Tuture PPI plaintiffs and/or claimants” or “future PPI lawsuits”].

              WHEREAS the parties wish to avoid motion practice regarding the naming of

      defendants in this litigation who are represented to be improper and/or

      unnecessary, to streamline the procedure for service of process and the execution of

      any waivers of service, and to designate an agreed upon location for depositions of

      the Stipulating Defendants’ employees that may occur during the pendency of the

      litigation.

              WHEREAS the PSC (acting on behalf of themselves and other Plaintiffs’

     counsel who have and/or may have actions in the PPI MDL], the Stipulating

     Defendants, and their counsel have conferred, consented, stipulated and agreed to

     the following, and good cause appearing therefore;

              It is hereby ORDERED:

              1.    Tucker Ellis LIP and Venable LLP (Defendants’ Counsel] represent the

     Stipulating Defendants. All Stipulating Defendants, and Defendants’ Counsel are

     aware of this litigation and have the authority to enter into this Stipulation on behalf

     of these entities.

             2.     The Stipulating Defendants deny the allegations in this litigation.

     Furthermore, by entering into this Stipulation, the Stipulating Defendants do not

     waive any arguments or defenses, including but not limited to jurisdiction, venue,

     service, or statutes of limitations or repose except as otherwise noted herein, or

     within the Stipulation Regarding Tolling of Statutes of Limitations {Dkt. 229-1]. In

     the event, however, that a judgment is entered or a settlement is reached, in a



                                                2
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 3 of 8 PageID: 12545




      matter filed in, or transferred to, the PPI MDL for Plaintiffs or future PPI plaintiffs

      and/or claimants, for which any of the Stipulating Defendants is/are liable, such

      judgment or settlement will be satisfied by TPUSA, TPA, TPC, and/or TDCA

      (collectively “Takeda Defendants”], which Defendants’ Counsel represent to

      Plaintiffs’ Counsel is/are sufficiently capitalized to satisfy any such judgment or

      settlement. For this reason and for the additional reasons noted below (and in

      Paragraph 3), the PSC and appropriate Plaintiffs’ Counsel shall remove and dismiss

      from all pending lawsuits in the PPI MDL, and agree to no longer name as

     defendants in any future PPI lawsuits, pursuant to the provisions of Paragraph 3, the

     following Stipulating Defendants (the PSC does not stipulate to the accuracy of the

     Defense Counsel’s representations in 2a. through 2e. below but does rely upon

     them):

              a.   Takeda Pharmaceuticals LLC, (“TPLLC”): As represented by Defense
                   Counsel to the PSC and the Court, TPLLC was a Delaware limited
                   liability company with its principal place of business at One Takeda
                   Parkway in Deerfield, Illinois. TPLLC no longer exists and was not in
                   existence at the time the Master Complaint was filed.

              b.   TAP Pharmaceutical Products, Inc. V’k!a TAP Holdings (“TAP”): As
                   represented by Defense Counsel to the PSC and the Court, TAP was
                   dissolved in 2008 and no longer exists, and was not in existence at the
                   time the Master Complaint was filed.

              c.   Takeda Pharmaceuticals International, Inc. (“TPI”): As represented by
                   Defense Counsel to the PSC and the Court, TPI is a Delaware corporation
                   with its principal place of business at One Takeda Parkway in Deerfield,
                   Illinois. TPI is an unnecessary defendant to this litigation.

              d.   Takeda California, Inc. (“TCAL”) As represented by Defense Counsel to
                   the PSC and the Court, TCAL is a Delaware corporation with its principal
                   place of business at 10410 Science Center Drive in San Diego, California.
                   TCAL is an unnecessary defendant to this litigation. TCAL has not
                   conducted research and development, clinical trials, safety surveillance,
                   manufacturing, sales or marketing of PPIs.



                                               3
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 4 of 8 PageID: 12546




              e.    Takeda San Diego, Inc. (“TSD”) As represented by Defense Counsel to
                    the P$C and the Court, T$D was merged with another affiliate within
                    Takeda and, on January 1, 2012, the surviving entity was renamed TCAL.
                    As noted above, TCAL has not conducted research and development,
                    clinical trials, safety surveillance, manufacturing, sales or marketing of
                    PPIs.

             3.     The Court hereby directs Plaintiffs and Plaintiffs’ Counsel to remove

      and voluntarily dismiss without prejudice from all pending lawsuits in the PPI MDL,

      and agree to no longer name as defendants in any future PPI lawsuits, TPLLC, TAP,

      TPI, TCAL and TSD (the “Dismissed Defendants”], with Plaintiffs and Stipulating

      Defendants to bear their own costs.

             4.     Service of any future filed Summons and Complaint against the

      Dismissed Defendants will not be accepted, and Plaintiffs’ counsel agree that the

      Dismissed Defendants will have no obligation to answer, move, or otherwise plead

      in response to each such complaint until further order of the MDL Court. Should

      Plaintiffs’ Counsel hereafter decide that any or all of the Dismissed Defendants are

     proper or necessary defendants in a case or cases, then Plaintiffs’ Counsel may, on

     behalf of Plaintiffs or future PPI plaintiffs, amend an existing, or file a future, action

     in which any of the Takeda Defendants are also named to include any or all of the

     Dismissed Defendants; in the event such occurs, Plaintiffs will serve the amended or

     new complaint on the newly added Dismissed Defendant(s)’ registered agent for

     service of process. The Dismissed Defendants reserve all other bases of a personal

     jurisdiction defense (and the Dismissed Defendants contend that it is unlikely that

     the Court will have personal jurisdiction over them]. The Stipulating Defendants

     agree that, notwithstanding the dismissal of and/or agreement not to name the



                                                4
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 5 of 8 PageID: 12547




      Dismissed Defendants, the running of any Limitations Period1 imposed by any

      jurisdiction within the United States for the filing of a civil action by Plaintiffs shall

      relate back to the date that the underlying action was/is filed by that Plaintiff

      against any or all of Takeda Defendants.         However, the Stipulating Defendants

      expressly reserve and do not waive their right to assert that the Limitations Period

      expired prior to the date that the underlying action was/is filed by that Plaintiff

      against any or all of Takeda Defendants.        The parties expressly agree that this

      Stipulation shall not revive in any manner any claims or causes of action that were

      already barred by the Limitations Period prior to or on the date of filing of the

      underlying action.

             5.     The Dismissed Defendants shall be relieved of any obligation to

     provide responses to discovery requests until further order of the MDL

     Court. However, the Takeda Defendants will produce responsive and discoverable

     information from the Dismissed Defendants to the extent it exists and will not object

     to discovery requests on the ground that the Dismissed Defendants will no longer be

     named as defendants in the litigation. The Stipulating Defendants do not waive

     other objections to any discovery that Plaintiffs or future PPI plaintiffs may serve,

     including, but not limited to, relevancy, proportionality, privacy, confidentiality,

     privilege, competency, admissibility, burden and other good faith objections.

     1 The parties agree that the term “Limitations Period” shall mean any and all time
     limitations on the assertion, prosecution, or filing or service of the lawsuit, including
     any and all statutes of limitations, statutes of repose, discovery statutes, time
     limitations in equity, statutory time conditions on filing suits, laches, and any other
     time bars as determined by the relevant statute of limitations period of the
     plaintiff’s state of residence (without regard to conflict of laws or borrowing
     statutes]. Nothing herein modifies the Stipulation Regarding Tolling of Statutes of
     Limitations [Dkt. 229-11.


                                                 5
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 6 of 8 PageID: 12548




             6.      The Stipulating Defendants will continue to meet their preservation

      obligations as if they were still parties to the litigation.

             7. The Stipulating Defendants stipulate that they shall not object to the

      deposition testimony of employees from the Dismissed Defendants or documents

      (including ESI] produced by the Dismissed Defendants being considered an

      admission of a party opponent pursuant to Fed. R. Evid. 801(d) (2), provided that the

      testimony and documents would otherwise be considered an admission of a party if

      the Dismissed Defendants were parties in this action.

             8.      The parties agree that any deposition of current employees and

      former employees (to the extent such former employees are represented by

      Takeda’s counsel] of the Takeda U.S. Defendants and/or TAP, shall occur at the Hyatt

      Regency Deerfield, 1750 Lake Cook Road, Deerfield, IL 60015, unless the parties

      mutually agree to an alternative location. The Takeda Defendants agree to bear all

      costs and expenses charged by the aforementioned Hyatt Deerfield to accommodate

      the location of the depositions.

             9.      The Dismissed Defendants are deemed stricken from the Master

      Complaint without need for the PSC to file an Amended Master Complaint. Attached

      hereto this CMO as Exhibit A is Plaintiffs’ Second Amended Short Form Complaint

      and Jury Demand, which does not identify any of the Dismissed Defendants and shall

     be used as the operative Short Form Complaint from the date of this Order

      forward. Within thirty (30) days of entry of this Order, the Dismissed Defendants

     shall submit to the Court a notice of dismissal attaching to it a list of all cases filed in

     or transferred to this PPI MDL prior to the date of this Order in which any of the



                                                   6
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 7 of 8 PageID: 12549




      Dismissed Defendants are named as defendants. After receiving the notice of

      dismissal, the Court shall process the dismissal of the Dismissed Defendants from

      each individual Complaint or Short Form Complaint filed against them. The

      Dismissed Defendants’ deadline to respond to any individual Complaints is extended

      indefinitely subject to paragraph 4, above. Nothing herein shall otherwise preclude

      the parties from amending their pleadings pursuant to the Federal Rules of Civil

      Procedure and the Case Management Orders entered in the PPI MDL.

             10.   This Stipulation may be signed in counterparts.

      IT IS SO STIPULATED.

      DATED: September 14, 2018

                                               VENABLE LLP

                                               By:    /s/CraiA. Thompson
                                                      Craig A. Thompson
                                                      Jason C. Rose
                                                      VENABLE LLP
                                                      750 East Pratt Street
                                                      Baltimore, MD 21202
                                                      Telephone: 410.244.7400
                                                      facsimile: 410.244.7742
                                                      cathornpson(t4venabIecorn
                                                      jcrose(ävenable.com

                                               TUCKER ELLIS LLP

                                               By:   /s/ Sherry Knutson
                                                     Sherry Knutson
                                                     James Hemmings
                                                     233 South Wacker Drive
                                                     Suite 6950
                                                     Chicago, Illinois 60606-9997
                                                     (312) 624-6300
                                                     (312) 624-6309
                                                     sherry.knutson(thtuckerellis.com
                                                     james.heinrnings(dtuckerellis.com




                                              7
Case 2:17-md-02789-CCC-MF Document 257 Filed 09/20/18 Page 8 of 8 PageID: 12550




                                          Attorneysfor the Stipulating Defendants


                                          By:    /s/ Christopher A. Seeker
                                                 Christopher A. Seeger (co-lead
                                                 counsel)
                                                 Seeger Weiss, LLP
                                                 550 Broad Street, Suite 920
                                                 Newark, NJ 07102
                                                 (973) 639-9100
                                                 cseeger(äseegerweiss.corn

                                                 /s/ Stephanie O’Connor
                                                 Stephanie O’Connor (co-lead
                                                 counsel)
                                                 Douglas & London, P.C.
                                                 59 Maiden Lane, 6th Floor
                                                 New York, NY 10038
                                                 (212) 566-7500
                                                 soconnorädoug1asandlondon. corn

                                       On Beha if ofPlaintiffs’ Executive and
                                       Steering Committees



     SO ORDERED:

     Dated: Newark, NewJersey
            September   2018



                                 CLAIRE C. CECCHI
                                 United States District Judge




                                      8
